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      CALIFORNIA EXTRACTION
   10 VENTURES, INC.; STEPHEN COREY
   11                                  UNITED STATES DISTRICT COURT
   12                             SOUTHERN DISTRICT OF CALIFORNIA
   13
   14 JAVO BEVERAGE CO., INC.,                       Case No. 3:19-CV-01859-CAB-WVG
   15                     Plaintiff,                 DEFENDANTS CALIFORNIA
                                                     EXTRACTION VENTURES, INC.
   16            v.                                  AND STEPHEN COREY’S
                                                     MEMORANDUM OF POINTS AND
   17 CALIFORNIA EXTRACTION                          AUTHORITIES IN SUPPORT OF
      VENTURES, INC. AND STEPHEN                     MOTION FOR ANTI-SUIT
   18 COREY,                                         INJUNCTION TO ENJOIN
                                                     ARBITRATION
   19                     Defendants.
                                                     Date: July 2, 2020
   20                                                Ctrm.: 4C (4th Floor)
      CALIFORNIA EXTRACTION                          The Hon. Cathy Ann Bencivengo
   21 VENTURES, INC.,
                                                     PER CHAMBERS RULES, NO
   22                     Counter-Claimant,          ORAL ARGUMENT UNLESS
                                                     SEPARATELY ORDERED BY THE
   23            v.                                  COURT
   24 JAVO BEVERAGE CO., INC.,                       Complaint Filed: September 26, 2019
                                                     Trial Date:      TBD
   25                     Counterclaim-Defendant.
   26
   27
   28

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    1                      MEMORANDUM OF POINTS AND AUTHORITIES
    2 I.         INTRODUCTION
    3            Shortly after the above-captioned action (“Litigation”) was filed by Plaintiff
    4 Javo Beverage Co., Inc. (“Javo”) against Defendants California Extraction Ventures,
    5 Inc. (“CEV”) and Stephen Corey (“Corey”) on September 26, 2019, Javo initiated a
    6 parallel and related arbitration (“Arbitration”) against Corey before the American
    7 Arbitration Association (“AAA”) on October 11, 2019. Notwithstanding the
    8 substantial progress that has been made in the Litigation—including the Court’s
    9 ruling denying Javo’s Motion for Preliminary Injunction, the entry of a case
   10 management order and schedule, the exchange of Preliminary and Responsive
   11 Claim Constructions, and the party and third party discovery that has already been
   12 and will be completed—Javo seeks to continue litigating its duplicative claims
   13 against Corey in the parallel Arbitration, which is substantively and procedurally in
   14 its infancy.
   15            The Court “has the discretion to enter an anti-suit injunction enjoining parties
   16 before it from proceeding with a parallel action” or arbitration ‘in circumstances that
   17 are unjust.’” Oracle Am., Inc. v. Myriad Group AG, No. C 10 05604 SBA, 2012
   18 WL 146364, at *6 (N.D. Cal. Jan. 17, 2012) (quoting E. & J. Gallo Winery v.
   19 Andina Licores S.A., 446 F.3d 984, 989 (9th Cir. 2006) (“Gallo”)). Such unjust
   20 circumstances are present here. All three factors that district courts are directed by
   21 the Ninth Circuit to consider weigh heavily in favor of such an anti-suit injunction:
   22 “(1) whether or not the parties and the issues are the same, and whether or not the
   23 first action is dispositive of the action to be enjoined; (2) whether the foreign
   24 litigation would frustrate a policy of the forum issuing the injunction; and (3)
   25 whether the impact on comity would be tolerable.” Applied Med. Distrib. Corp. v.
   26 Surgical Co. BV, 587 F.3d 909, 913 (9th Cir. 2009).
   27            First, with respect to Corey, the parties to and issues presented in the
   28 Litigation and Arbitration are identical in all material respects. Both the Litigation

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    1 and Arbitration arise from the same set of core underlying allegations against Corey,
    2 and seek the same relief, including damages to be determined at trial or the
    3 arbitration hearing and orders (1) prohibiting Corey from continuing to use Javo’s
    4 confidential or trade secret information and (2) assigning to Javo all patent
    5 applications and patents reflecting Javo trade secrets or confidential information.1
    6 The Litigation is accordingly dispositive of the claims asserted against Corey in the
    7 Arbitration, which Javo should be enjoined from continuing to pursue.2 Indeed,
    8 Javo admits as much in its recently-filed motion to stay, stating that “Javo agrees”
    9 with the Arbitrator’s finding that “‘[b]oth the Demand here and the complaint in the
   10 . . . Litigation advance similar allegations and claims,’ and thus will have
   11 overlapping issues.”3 (Motion to Stay [Doc. 79-1] at 10.)
   12            Second, continuation of the Arbitration would frustrate the federal policy
   13 against duplicative and piecemeal litigation and potentially inconsistent rulings, as
   14 well as create unnecessary delay, burden, and expense on the parties, the Court, and
   15 the Arbitrator appointed in the Arbitration. Indeed, as just one example, Javo has
   16 already served written discovery on Defendant Corey in both the Litigation and
   17 Arbitration which materially overlaps. Not only does having to respond to identical
   18 discovery served in two parallel actions result in the imposition of an unnecessary
   19 burden and expense on Defendant Corey, discovery disputes which are likely to
   20 arise regarding those same discovery requests could potentially be subject to
   21
        1
   22    Notably, Javo is seeking an assignment of CEV’s patents to Javo in the
        Arbitration, even though CEV is not a party to the Arbitration.
   23   2
        The opposite is not true for several reasons. First, CEV is not a party to the
   24 Arbitration, and Javo’s claims against CEV in the Litigation will not be resolved in
      the Arbitration. Second, CEV has a patent infringement Counterclaims pending
   25
      against Javo, which will not be addressed in the Litigation.
   26 3 While Defendants disagree with the self-serving contentions in Javo’s motion to
   27 stay, which seeks the stay of Defendants’ Counterclaims in the Litigation, they do
      not address them here. Defendants will respond directly to those contentions in their
   28 forthcoming opposition to Javo’s motion to stay.

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    1 inconsistent rulings by both the Court and the Arbitrator, which could in turn lead to
    2 inconsistent rulings on core factual and legal issues in both the Litigation and the
    3 Arbitration on the basis of different factual records.
    4            Third, an anti-suit injunction will have no impact on international comity,
    5 because the employment contracts that give rise to Javo’s Arbitration claims call for
    6 the application of California law and for the jurisdiction of this Court to resolve any
    7 disputes of the parties arising therefrom. Accordingly, for all of the reasons set forth
    8 herein, Defendants CEV and Corey respectfully request that the Court grant the
    9 Motion and enter an anti-suit injunction enjoining Javo from continuing the
   10 Arbitration, until such time that that the Litigation is fully and finally resolved.
   11 II.        FACTUAL AND PROCEDURAL BACKGROUND
   12            A.       District Court Litigation Proceedings
   13            On September 26, 2019, Javo filed the Complaint in the Litigation, asserting
   14 four causes of action against Defendants CEV and Stephen Corey: (1)
   15 misappropriation of trade secrets under the Defend Trade Secrets Act against CEV
   16 and Corey; (2) misappropriation of trade secrets under the California Uniform Trade
   17 Secrets Act against CEV and Corey; (3) declaratory relief against CEV regarding a
   18 number of patents filed by Corey, in which Javo alleges an ownership interest; and
   19 (4) intentional interference with contractual relations against CEV. (Complaint
   20 [Doc. 1] at ¶¶ 71-113.)
   21            All four causes of action arise from the same core set of allegations and
   22 contracts. Javo alleges that Corey was an “original co-founder of Javo” and a
   23 “principal inventor of Javo’s trade secret [coffee, tea, and botanical] extraction
   24 process.” (Id. at ¶ 2.) Javo contends that Corey worked at Javo and its predecessor
   25 entities from approximately 1993 until 2011. (Id.) Javo alleges that in December
   26 2001, Corey executed an Employment Agreement (“EA”) and an Employee
   27 Confidentiality and Invention Assignment Agreement (“CIAA”) in which Corey
   28 agreed to assign his interest in Javo’s alleged proprietary extraction process to Javo,

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    1 and further agreed not to disclose or otherwise misuse Javo’s confidential
    2 information. (Id. at ¶¶ 31-41.)
    3            Javo alleges that many years after Corey’s departure from Javo, on March 17,
    4 2015, Corey filed the ’497 Provisional Application attached as Exhibit B to the
    5 Complaint with the United States Patent and Trademark Office (the “USPTO”). (Id.
    6 at ¶¶ 50-51, Ex. B.) Javo alleges that Corey conceived of the invention that is the
    7 subject of the ‘497 Provision Application “during Corey’s tenure with [Javo],” and
    8 that therefore the information contained within the ‘497 Provision Application
    9 constitutes Javo’s trade secrets. (Id. at ¶¶ 53-57.)
   10            Corey subsequently filed seven additional patent applications claiming
   11 priority to the ‘497 Provision Application, all of which Javo contends “disclose
   12 material that substantially describes and overlaps with the proprietary confidential
   13 information and trade secrets of Javo.” (Id. at ¶¶ 65-66.) Based on these patent
   14 applications, Javo alleges that “Corey improperly disclosed the [trade secret]
   15 information in publicly-available patent applications he filed with the [USPTO] and
   16 assigned to CEV,” (Id. at ¶15); the “published patent applications disclose material
   17 that substantially describes and overlaps with the proprietary confidential
   18 information and trade secrets of Javo,” (Id. at ¶ 66); “Corey and CEV have willfully
   19 misappropriated Javo’s confidential and trade secret information for their own use,
   20 including by filing patent applications,” (Id. at ¶ 83); and that the “[p]ublished
   21 patent applications . . . were a material breach of the restrictions against disclosure
   22 of Javo’s confidential and trade secret information” found in the EA and CIAA, (Id.
   23 at ¶ 111).
   24            On November 14, 2019, almost two months after filing the Complaint, Javo
   25 filed a motion for preliminary injunction (the “PI Motion”) to enjoin CEV and
   26 Corey from, among other things, “using Javo’s trade secrets and other confidential
   27 information” in its business, raising money from investors, filing any new patent
   28

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    1 applications, or licensing any rights to third parties in any issued patents based on
    2 such trade secrets or other confidential information. (PI Mot. [Doc. 20] at 2.)
    3            On December 16, 2019, CEV filed Counterclaims against Javo for
    4 infringement of U.S. Patent Application No. 10,207,200 (the “’200 Patent”) and
    5 U.S. Patent Application No. 10,293,275 (the “’275 Patent”), the rights and titles to
    6 which were assigned by Corey to CEV. (Counterclaims [Doc. 38] at ¶¶ 21, 27, 44-
    7 57.) As set forth in the Counterclaims, CEV seeks the dismissal of the Complaint
    8 and all claims for relief contained therein, with prejudice, findings that Javo directly
    9 and indirectly infringed on the ‘200 and ‘275 Patents, a permanent injunction
   10 enjoining Javo from further infringing on the Patents, an award of reasonable
   11 royalty adequate to compensate CEV for Javo’s infringement of the Patents, an
   12 award of treble damages for willful infringement of the Patents, and an award of
   13 CEV’s attorneys’ fees, costs, and expenses. (Id. at 10-11.)
   14            Pursuant to an order from the Court, CEV and Corey conducted expedited
   15 discovery in connection with the PI Motion, including a Rule 30(b)(6) deposition of
   16 Javo on certain topics. (Order [Doc. 28] at 2.) On February 10, 2020, the parties
   17 conducted an Early Neutral Evaluation Conference and a Case Management
   18 Conference. (Minute Entry [Doc. 64].) On February 12, 2020, the Court entered a
   19 Case Management Order setting a schedule for fact and expert discovery on the
   20 patent claims asserted by the parties in both the Complaint and the Counterclaims, to
   21 be completed by March 15, 2021, and other pretrial proceedings. (Case
   22 Management Order [Doc. 65] at ¶¶ 16-18.)
   23            On February 24, 2020, following additional briefing from the parties and a
   24 hearing on January 23, 2020, the Court entered an order denying the PI Motion,
   25 finding that “the Court is not persuaded that Javo has established a likelihood of
   26 success in proving that the proprietary aspects of Javo’s extraction vessel and
   27 process were misappropriated by Corey and CEV and disclosed in the Corey patent
   28 applications.” (Order [Doc. 67] at 7-8.) The Court further held that because “Javo’s

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    1 remaining claims for intentional interference and declaratory judgment of patent
    2 ownership are largely based on the same set of facts underlying its trade secret
    3 misappropriation claim,” Javo “has similarly failed to sufficiently establish a
    4 likelihood of success on the merits of either of these claims.” (Id. at 8.)
    5            On February 28, 2020, consistent with the Court’s Case Management Order,
    6 CEV served its Initial Disclosure of Asserted Claims and Infringement Contentions
    7 on Javo, including an initial document production. (See Declaration of Marisa B.
    8 Miller (“Miller Decl.”) ¶ 8.) On April 24, 2020, CEV served Invalidity Contentions
    9 on Javo. (Id.) On May 8, 2020, the parties exchanged Preliminary Claim
   10 Constructions, and on May 22, 2020, the parties exchanged Responsive Claim
   11 Constructions. (Id.)
   12            In parallel, the parties have conducted significant party and third party
   13 discovery. On February 28 and March 2, 2020, Defendants CEV and Corey served
   14 four subpoenas on third parties, seeking information regarding Javo’s alleged failed
   15 sales process, which is central to Java’s core allegations of liability and damages in
   16 both the Litigation and Arbitration. (Id. at ¶ 9.) On March 25, 2020, Javo served
   17 separate requests for production, interrogatories, and requests for admission on
   18 Defendants CEV and Corey. (Id., Exs 8, 9, 10.) Defendants served responses and
   19 objections to Javo’s written discovery on April 24, 2020. (Id. at ¶ 9.) On May 1,
   20 2020, Corey served requests for production and interrogatories on Javo, and on May
   21 13, 2020, Corey served requests for admission on Javo. (Id.) On May 11, 2020,
   22 Defendants served supplemental responses to Javo’s written discovery. (Id.)
   23            B.       Related Arbitration Proceedings
   24            In parallel with the Litigation, on October 11, 2019, Javo initiated the
   25 Arbitration against Corey by lodging a Demand for Arbitration with the American
   26 Arbitration Association (“AAA”), captioned Javo Beverage Co., Inc. v. Stephen
   27 Corey, AAA Case No. 01-19-0003-2445. (Id. at ¶ 2, Ex. 1.) The Demand asserts
   28 causes of action against Corey for breach of contract and breach of covenant of good

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     1 faith and fair dealing, which are premised on the same core set of allegations and
     2 contracts as the causes of action asserted against Corey in the Complaint. (Id., Ex. 1
     3 at ¶¶ 71-93.)
     4            As in the Complaint, Javo alleges in the Demand that Corey “was an original
     5 co-founder of Javo and its predecessors,” the “principal inventor of Javo’s
     6 proprietary extraction process,” and an employee of Javo “from the company’s
     7 inception in or around 1993 until 2011.” (Id. at ¶ 7.) As in the Complaint, Javo
     8 asserts that Corey entered into the EA and CIAA in December 2011, which
     9 contained certain “requirements to ensure that Corey would protect Javo’s
    10 confidential information and trade secrets.” (Id. at ¶¶ 31, 33.) As in the Complaint,
    11 Javo alleges that in March 2015, Corey filed the ’497 Provisional Application,
    12 subsequently “obtained seven issued patents claiming priority to Corey’s ’497
    13 Provisional Application,” all of which “disclose material that substantially describes
    14 and overlaps with the proprietary confidential information and trade secrets [of
    15 Javo] that existed when Corey signed the [EA and CIAA].” (Id. at ¶¶ 55, 62-63.)
    16 And as in the Complaint, Javo alleges in the Demand that Corey by “filing . . .
    17 patent applications and assigning the patent applications and issued patents to CEV,
    18 Corey materially breached the EA and CIAA.” (Id. at ¶ 77.)
    19            On November 13, 2019, Corey lodged an Answer to Javo’s Demand, denying
    20 each and every allegation asserted against him, and further denying that Javo is
    21 entitled to any of the relief requested therein. (Id. at ¶ 3, Ex. 2.) Corey further
    22 provided notice to the AAA of Javo’s filing of the related Litigation, which, like the
    23 Demand, “alleges that Corey misappropriated Javo’s trade secrets by filing U.S. Pat.
    24 App. No. 62/134,497 and obtaining patents and patent applications therefrom,”
    25 similarly “seeks declaratory relief as to the ownership of the patents and patent
    26 applications allegedly containing Javo’s trade secrets,” and “alleges CEV
    27 intentionally interfered with the two agreements—the [EA and CIAA]—at issue in
    28 this arbitration.” (Id., Ex. 2 at 2-3.)

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     1            On January 27, 2020, the AAA appointed the Hon. Jay Gandhi as Arbitrator
     2 in the Arbitration. (Id. at ¶ 4.) On March 2, 2020, the Arbitrator conducted a
     3 telephonic Arbitration Management Conference, during which Corey raised the
     4 concern that the substantial, if not identical, overlap between the allegations and
     5 claims for relief asserted in the Litigation and the Arbitration against him created a
     6 significant likelihood of conflicting rulings on common issues of law or fact as
     7 determined by the Court and the Arbitrator. (Id.) At the Arbitrator’s direction, on
     8 March 6, 2020, Corey filed a motion to stay the Arbitration in favor of the
     9 Litigation, which was fully briefed by the parties. (Id. at ¶ 5.)
    10            On April 21, 2020, the Arbitrator issued a ruling denying Corey’s motion to
    11 stay. (Id. at ¶ 6, Ex. 3.) The Arbitrator’s ruling was primarily on the basis that “the
    12 Arbitrator is unaware of any attempt by Corey to seek a stay of the Arbitration in the
    13 District Court,” and “[u]nder the AAA Rules, the Arbitrator may lack jurisdiction to
    14 stay this proceeding,” prompting the filing of this Motion. (Id., Ex. 3 at 2.) On
    15 April 21, 2020, the Arbitrator also issued Scheduling Order No. 1 (the “Arbitration
    16 Scheduling Order”). (Id. at ¶ 6., Ex. 4.) The Arbitration Scheduling Order
    17 contemplates fact discovery to be closed by August 28, 2020, expert discovery to be
    18 closed by October 23, 2020, and an evidentiary hearing to be conducted from
    19 December 7 to 11, 2020. (Id., Ex. 4 at 2.) On May 15, 2020, pursuant to the
    20 Arbitration Scheduling Order, Javo served Corey with requests for production of
    21 documents, interrogatories, and requests for admission, which materially overlap
    22 with the written discovery served in the Litigation. (Id. at ¶ 7, Exs. 5, 6, 7.)
    23 III.       LEGAL ARGUMENT
    24            The Ninth Circuit has held that federal courts “derive the ability to enter an
    25 anti-suit injunction from their equitable powers,” which “allow the court to restrain
    26 a party subject to its jurisdiction from proceeding in a foreign court in circumstances
    27 that are unjust.” Gallo, 446 F.3d at 989; see also Applied Med. Distrib. Corp., 587
    28 F.3d at 919 (same); Microsoft Corp. v. Motorola, Inc., 696 F.3d 872, 881 (9th Cir.

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     1 2012) (same). California federal courts have held that the ability to enter an anti-
     2 suit injunction encompasses not only proceedings before foreign courts, but also
     3 arbitrations like the one initiated by Javo here. See Oracle, 2012 WL 146364, at *6
     4 (enjoining litigant “from proceeding further with the arbitration of the claims
     5 alleged in this [district court litigation]”). “The injunction operates in personam; in
     6 other words, the court enjoins the litigants, not the foreign tribunal.” Id. at *3.
     7            “The usual standard for the issuance of injunctive relief is not applicable to
     8 anti-suit injunctions[.]” Po-Hai Tang v. CS Clean Sys. AG, No. 11-cv-00212 BEN
     9 (RBB), 2011 WL 4073653, at *2 (S.D. Cal. Sept. 13, 2011). “Instead, the Ninth
    10 Circuit has directed district courts to consider” what have been dubbed the three
    11 Gallo factors: “‘(1) whether or not the parties and the issues are the same, and
    12 whether or not the first action is dispositive of the action to be enjoined; (2) whether
    13 the foreign litigation would frustrate a policy of the forum issuing the injunction;
    14 and (3) whether the impact on comity would be tolerable.’” Oracle, 2012 WL
    15 146364, at *3 (quoting Applied Med. Distrib. Corp., 587 F.3d at 913).
    16            All three of these factors weigh strongly in favor of an injunction to prohibit
    17 Javo from continuing to litigate the same issues against the same parties in parallel
    18 proceedings before both the Court and the Arbitrator. See id. at *6 (holding that
    19 “[e]ach of the three considerations set forth in Gallo weigh in favor of enjoining
    20 [litigant] from proceeding further with the arbitration of the claims alleged in this
    21 action,” and granting “request to enjoin [litigant] from proceeding further with its
    22 Demand for Arbitration with respect to the claims alleged in this lawsuit”).
    23            A.       The Litigation Is Dispositive of the Arbitration
    24            The first Gallo factor “addresses the relationship between the federal court
    25 action and the foreign proceeding.” Oracle, 2012 WL 146364, at *3. The “crux of
    26 the functional inquiry in the first step of the analysis is to determine whether the
    27 issues are the same in the sense that all the issues in the foreign action . . . can be
    28

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     1 resolved in the local [district court] action.” Applied Med. Distrib. Corp., 587 F.3d
     2 at 915.
     3            Here, there can be no dispute that the parties to the Arbitration, Javo and
     4 Corey, are also parties to the Litigation. There can also be no dispute that the issues
     5 being litigated in the Litigation and the Arbitration are substantively, if not
     6 completely, identical with respect to Corey. Both the Litigation and the Arbitration
     7 arise from the same set of core underlying allegations against Corey—namely that
     8 by filing the ’497 Application and obtaining patents and patent applications
     9 therefrom, Corey misappropriated Javo’s confidential information and/or trade
    10 secrets, which were subject to protections against their use and disclosure contained
    11 in the EA and CIAA to which Corey was bound. (See Compl. at ¶¶ 2, 15, 31-41, 50-
    12 51, 53-57, 66, 83, 111; Demand at ¶¶ 7, 31, 33, 55, 62-63, 77.) Both the Litigation
    13 and the Arbitration assert claims against Corey relating directly and indirectly to the
    14 EA and CIAA, which provide that they “shall be interpreted in accordance with the
    15 laws of the State of California,” and under which the “parties agree[d] to the
    16 jurisdiction of the federal and state courts of California for disputes arising from this
    17 Agreement.” (Compl., Ex. A at § 11.1.) Both the Litigation and the Arbitration
    18 seek nearly identical relief, including damages to be determined at trial or the
    19 arbitration hearing, and orders (1) prohibiting Corey from continuing to use Javo’s
    20 confidential or trade secret information and (2) assigning to Javo all patent
    21 applications and patents that disclose in whole or in part Javo trade secrets or
    22 confidential information. (See Compl. at 21-22; Demand at 17-18.)
    23            The material overlap between the Litigation and Arbitration is evidenced
    24 clearly in the written discovery served by Javo on Corey in both actions, which is
    25 largely identical. Indeed, all of the same document requests, interrogatories, and
    26 requests for admission served by Javo in the Litigation were also served in the
    27 Arbitration, with only minor changes. Javo’s apparent belief that all of the same
    28 documents sought in the Litigation are also relevant to the Arbitration is an implied

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     1 concession that the claims and defenses in the Litigation are also directly relevant to
     2 those asserted in the Arbitration.
     3            Javo also openly admits in its recently-filed motion to stay that the Litigation
     4 and the Arbitration will resolve issues and claims that are dispositive of one another.
     5 In its own words, “Javo agrees” with the Arbitrator’s finding that “‘[b]oth the
     6 Demand here and the complaint in the . . . Litigation advance similar allegations and
     7 claims,’ and thus will have overlapping issues.” (Motion to Stay [Doc. 79-1] at 10.)
     8 By Javo’s own admission, resolution of the factual and legal claims presented in the
     9 Litigation by this Court will naturally and inherently resolve the duplicative claims
    10 against Corey asserted in the Arbitration, weighing strongly in favor of an anti-suit
    11 injunction to preclude the Arbitration from continuing.4
    12            Moreover, that the individual causes of action asserted in the Litigation are
    13 styled differently than the causes of action alleged in the Arbitration is irrelevant to
    14 the inquiry. As the Ninth Circuit in Applied Med. Distrib. Corp. recognized,
    15 “requiring issues to be precisely and verbally identical would lead to
    16 counterproductive, and perhaps unintended, results.” 587 F.3d at 915. For example,
    17 a party could disrupt domestic litigation “simply by waiting until a local suit is filed,
    18 and then file a foreign action that, despite being easily disposed of by resolution of
    19 the local action, is in some way not identical in form[.]” Id. “Such language
    20 differences across national systems, if they invariably allowed competing
    21
    22
    23
         4
         Although the Litigation is dispositive of the Arbitration, notably, the opposite is
    24 not true. For example, CEV is not a party to the Arbitration, and the claims that
    25 Javo asserted against it will necessarily have to be litigated in Court. In addition,
       CEV filed Counterclaims in the Litigation which must be resolved before the Court
    26 regardless of whether the Arbitration is permitted to continue. Javo recognizes as
    27 much in its motion to stay, which seeks a stay of Defendants’ patent infringement
       Counterclaims in the Litigation—one of the only aspects of the Litigation that is not
    28 inherently duplicative of Javo’s claims asserted in the Arbitration.

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     1 international litigation, would wholly frustrate the normal purposes of clauses
     2 selecting a forum and applicable law.” Id.
     3            That same reasoning is equally applicable to the Arbitration initiated by Javo
     4 here—while styled as different causes of action, the claims in the Litigation and
     5 Arbitration against Corey are functionally equivalent. See id. at 918. Because
     6 Javo’s claims and requests for relief asserted against Corey in the Litigation and the
     7 Arbitration arise from the same set of core allegations, contracts, and documents,
     8 and will be resolved in accordance with the same body of California law pursuant to
     9 the choice-of-law provision contained in the EA and CIAA, “the issues are
    10 functionally the same” for the purposes of determining whether an anti-suit
    11 injunction should issue under the Gallo factors. Id. at 916.
    12            B.       Continuation of the Arbitration Would Frustrate the Policy of the
    13                     Instant Forum Against Piecemeal and Duplicative Litigation.
    14            The “second step in deciding if an anti-suit injunction is appropriate is
    15 determining if the continuation of the foreign litigation would frustrate a policy of
    16 the forum issuing the injunction.” Id. at 918.
    17            Permitting Javo to continue the Arbitration here would frustrate the “federal
    18 policy against piecemeal and duplicative litigation, forum shopping[,] and
    19 inconsistent rulings,” Oracle, 2012 WL 146364, at *4, and furthermore “ cause[]
    20 substantial inconvenience, unnecessary expense, and duplication of efforts” to the
    21 parties, the Court, and the Arbitrator, Mastronardi Int’l Ltd. v. SunSelect Produce
    22 (Cal.), Inc., No. 1:18-cv-00737-AWI-JLT, 2020 WL 520167, at *7 (E.D. Cal. Jan.
    23 31, 2020).5 As the Ninth Circuit has recognized, “[a]djudicating [the same] issue[s]
    24
    25   5
         Although the court in Mastronardi denied plaintiff’s request for an anti-suit
    26 injunction, the facts in that case are readily distinguishable from the present
       circumstances: (1) unlike the EA, the agreement at issue in Mastronardi provided
    27 for a dual-prong dispute resolution procedure, provided that disputes “shall be
    28 settled [in litigation] under the procedures set out in [the Perishable Agricultural

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     1 in two separate actions is likely to result in unnecessary delay and substantial
     2 inconvenience and expense to the parties and witnesses”—an outcome that will
     3 inevitably result if the Arbitration is permitted to continue, given the material
     4 overlap in the parties to, and claims asserted against Corey in the Litigation and the
     5 Arbitration. Seattle Totems Hockey Club, Inc. v. Nat’l Hockey League, 652 F.2d
     6 852, 856 (9th Cir. 1981). As just one example, by serving largely identical written
     7 discovery on Defendant Corey in both the Litigation and Arbitration, Javo has
     8 already imposed on Corey the unnecessary burden and expense of having to respond
     9 to the same discovery in two parallel actions.
    10            Moreover, the concern expressed by the Ninth Circuit that “separate
    11 adjudications could result in inconsistent rulings or even a race to judgment” is
    12 already being realized here. Id. First, given the overlap between the discovery
    13 served by Javo on Corey in both the Arbitration and the Litigation, both the Court
    14 and the Arbitrator will likely be facing similar discovery disputes between Javo and
    15 Corey, which could potentially lead to inconsistent rulings based on the differing
    16 scope of discovery permitted in the Arbitration, which will be substantially more
    17 limited than discovery in the Litigation. Differing rulings on discovery could in turn
    18 lead to inconsistent rulings on core factual and legal issues as it relates to Corey in
    19 both the Litigation and the Arbitration on the basis of different factual records.
    20
    21 Commodities Act (‘PACA’)], if applicable, and if not applicable, the parties shall
       refer the dispute to a single arbitrator,” id. at *1; (2) unlike the overlapping claims
    22 asserted by Javo in the Litigation and Arbitration here, plaintiff’s lawsuit against
    23 defendant in Mastronardi consisted of PACA claims, which did not appear to
       encompass the breach of contract claims asserted by defendant in the subsequently-
    24 filed arbitration; and (3) unlike the significant risk of inconsistent rulings created
    25 here if the Arbitration is permitted to continue in parallel with the Litigation, the
       lack of overlap between the claims asserted in the lawsuit and arbitration in
    26 Mastronardi did not give rise to the potential for differing outcomes. Accordingly,
    27 the court’s finding in Mastronardi that an anti-suit injunction should not issue
       because there would be no inconvenience, unnecessary expense, duplication of
    28 efforts, or risk of inconsistent rulings is inapplicable.

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     1 Importantly, CEV, the assignee of the patents at issue in the Litigation, is not a party
     2 to the Arbitration. CEV’s rights to its patents must therefore be addressed in the
     3 Litigation, rather than the Arbitration. Second, the schedule set by the Arbitrator—
     4 which contemplates an evidentiary hearing in December 2020—is precisely the kind
     5 of “race to judgment” that concerned the Ninth Circuit. Id.
     6            By contrast, no prejudice to the parties or the Arbitrator will result if an anti-
     7 suit injunction is entered in the Litigation to enjoin the continuation of the
     8 Arbitration. The Arbitration is in its preliminary stages, with fact discovery only
     9 just beginning in early May 2020, and no proceedings touching on the substance of
    10 Javo’s underlying allegations and claims have been conducted. In the Litigation, on
    11 the other hand, this Court is well-acquainted with the facts and merits of this case,
    12 having presided over extensive proceedings arising from Javo’s PI Motion, which
    13 this Court denied. (Order [Doc. 67].) Moreover, significant party and third party
    14 discovery has already been and will continue to be conducted, an Early Neutral
    15 Evaluation Conference has taken place, a case management order containing a
    16 discovery schedule has been entered, and the Court has issued a protective order and
    17 a protocol for electronically stored information. (Order [Doc. 28]; Case
    18 Management Order [Doc. 65]; Order [Doc. 67]; Order [Doc. 77].)
    19            Rather than subject the parties, the Court, and the Arbitrator to the
    20 unnecessary inconvenience, expense, and risk of inconsistent rulings that parallel
    21 proceedings would create, the interests of judicial economy would best be served by
    22 an anti-suit injunction to enjoin Javo from continuing the Arbitration. Accordingly,
    23 and for all of the foregoing reasons, the second Gallo factor weighs in favor of
    24 enjoining Javo from continuing the Arbitration. See Oracle, 2012 WL 146364, at *5
    25 (holding that litigant’s “efforts to proceed with the arbitration . . . frustrate and
    26 contravene the policy against avoiding inconsistent judgments, forum shopping and
    27 engaging in duplicative and vexatious litigation”).
    28

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     1            C.       An Anti-Suit Injunction Will Have No Impact on International
     2                     Comity
     3            The final step “in deciding if an anti-suit injunction is appropriate is
     4 determining whether the impact on international comity would be tolerable.”
     5 Applied Med. Distrib. Corp., 587 F.3d at 919. Comity is “the recognition which one
     6 nation allows within its territory to the legislative, executive or judicial acts of
     7 another nation, having due regard both to international duty and convenience, and to
     8 the rights of its own citizens, or of other persons who are under the protection of its
     9 laws.” Hilton v. Guyot, 159 U.S. 113, 164 (1895).
    10            International comity concerns are not implicated under the present
    11 circumstances, where the parties agreed in the EA that “[t]his Agreement shall be
    12 interpreted in accordance with the laws of the State of California,” and that the
    13 “parties agree to the jurisdiction of the federal and state courts of California for
    14 disputes arising from this Agreement.” (Compl., Ex. A at § 11.1.) See Gallo, 446
    15 F.3d at 994 (“The case before us deals with enforcing a contract and giving effect to
    16 substantive rights. This in no way breaches norms of comity.”). Because both the
    17 Court and the Arbitrator will be applying California law to Javo’s claims where
    18 applicable, and Javo agreed to the jurisdiction of the federal courts of California for
    19 the resolution of any disputes arising under the EA and CIAA, “the impact of an
    20 anti-suit injunction on international comity, if any, will be negligible.” Oracle, 2012
    21 WL 146364, at *6.
    22 IV.        CONCLUSION
    23            For all of the foregoing reasons, Defendants respectfully request the Court to
    24 enter an anti-suit injunction enjoining the continuation of the Arbitration, pending
    25 the resolution of the instant Litigation.
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